Case 1:99-cV-01267-.]DB-tmp Document 93 Filed 07/08/05 Page 1 of 3 Page|D 110

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TODD ERTL, JUDGMENT IN A CIVIL 4dé;ASE
Plaintiff,
v.
CORRECTIONS CORPORATION CASE NO: ]:99-]267-B

OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action carne to consideration before the Court. The issues have been
considered and a decision has been rcnd.ered.

IT lS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed With prejudice.

PROVED:

 

J. |ANIEL BREEN
J*'ITED STATES DISTRICT COURT

  

THOMAS M. GOLI.D
Clerk of Cou rt

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(By) Deputy Clerk

This document entered on the docket sheet in comptiance
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